Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 1 of 11




        EXHIBIT
                          A
                     Case 8:19-cv-01969-PWG
                                     Circuit CourtDocument     1-1 Filed
                                                   For Prince George's        ~C.l.,Page 2 ofL\11
                                                                          07/03/19
                                                                       County                        J
                                                                                                . l '\   v·               @)
                                                   Clerk Of The Circuit Court
                                                           Courthouse
                                                                                          Cert. ~~:, \
                                               Upper Marlboro, Md. 20772-9987
                                                  MD Relay Service Voice/ TDD
                                                       1-800- 735-2258

                                                                                   Case No.: CAL19-13733
                                                                     Other Reference No.(s):
                                                      Child Support Enforcement Number:                               .

                                                                             Date issued: May 1, 2019

To:    Washington Metropolitan Area Transit Authority
      SV: Patricia Lee
      600 5th Street, NW
      Washington, DC 20001

                                              WRIT OF SUMMONS
         You are hereby summoned to file a written response by pleading or motion, within 60 days after
service of this summons upon you, in this Court, to the attached complaint filed by;
MELVIN MARCH
4374 EAGLE COURT
WALDORF MD 20603



This summons is effective for service only if served within 60 days after the date it is issued.



                                                                                               Clerk of the Circuit Court ~


      To the person summoned:
              Failure to file a response within the time allowed may result in a judgment by default or the granting
              of the relief sought against you.
              Personal attendance in court on the day named is NOT required.
              Proper Courtroom attire is expected. Anything that you would wear to an office that presents a professional
              appearance is appropriate. Please no shorts, cut-off jeans, halter, tank or tube tops or other attire that reveals
              the abdomen or lower back, spandex or mesh garments.

      Instructions for Service:
               1.    This summons is effective for service only if served within 60 days after the date issued.
               2.    Proof of Service shall set out the name of the person served, date and the particular place and manner
                     of service. If service is not made, please state the reasons.
               3.    Return of served or unserved process shall be made promptly and in accordance with
                     Maryland Rule 2-126.
               4.    If this notice is served by private process, process server shall file a separate affidavit as required
                     by Maryland Rule 2-126(a).




CC-CV-032 (Rev. 01/2019)                               Page 1 of 4                                    CAL19-13733
                        Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 3 of 11


                                                                    SHERIFF'S RETURN
                                                        Circuit Court for Pri:r;w~.Q~_qr_gf.~.Ç.@n.t)'

    To:



    Sheriff fee:                                             By:            -·-··-·_    __ .. -·              _             ··--_-··-·--·· __ -···_.   ---···· .

    Served:                                                                                                                                                        Time:

                                      Date:

    Unserved (Reason):_·····-··--·--------·-------·--··-------·-----··---·-··---------·--·------·······-··-··············-······-·-····-·-····-·------·······


    Instructions to Private Process:

          1.   This Summons is effective for service only if served within 60 days after the date issued.
          2.   Proof of Service shall set out the name of the person served, date and the particular place and manner
               of service. If service is not made, please state the reasons.
          3.   Return of served or unserved process shall be made promptly and in accordance with Rule 2-126.
          4.   If this summons is served by private process, process server shall file a separate affidavit as required by Rule
               2-126(a).




CC-CV-032 (Rev. 01/2019)                                               Page 2 of 4                                                   CAL19-13733
       Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 4 of 11




IN THE CIRCUIT COURT FOR                 Prince George's County      Q.A L l
                                         -----"-----C...---=---=---,-~---~-------                            9- \ 61'33
                                                 DIRECTIONS
    Plaintiff This Information Report must be completed and attached to the complaint filed with the Clerk of Co
unless your case is exempted from the requirement by the Chief Judge of the Court of Appeals pursuant to Rule
2-lll(a).
   Defendant: You must file an Information Report as required by Rule 2-323(h).
                 THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
FORM FILED BY:         i&'J   PLAINTIFF        O    DEFENDANT              CASE NUMBER
                                                                                              ------------<
                                                                                                      (Cleric to insen)                       et. ~ j .
CASE NAME: _M
            _e_
              l_
               vm_
                 · _M
                    _ ar_c_
                          h                   ~------                     vs.   Washington Metropolitan Area Transit Auth            r-iry,
                                         Plaintiff                                                 Defendant
PARTY'SNAME:_M
             _e_l_
                 v1_
                   ·n_M
                      _ ar_c_
                            h                                                                                                  ---1

PARTY'S ADDRESS: 4374 Eagle Court, Waldorf, MD 20603                            PHONE: 301-765-0076
                                                                                                         (Daytime phone)
PARTY'S E-MAIL: zmyers@fminjury.com
If represented by an attorney:
PARTY'S ATTORNEY'S NAME: Zachary S. Myers, Esq.                                 PHONE:_3_
                                                                                        01_-_
                                                                                            76_5_
                                                                                                -0_0_
                                                                                                    76                          -1

PARTY'S ATTORNEY'S ADDRESS: 9241 Cambridge Manor Court, Potomac,                           MD 20854
PARTY'S ATTORNEY'S E-MAIL: -.
                           zmyers         fminjury.com
                              . :. . .--'=--. . :. . . . :. . .------------------,_,-.-:.,---::;,;::!
JURY DEMAND?            IX! Yes O No
RELATED CASE PENDING? 0 Yes !RI No                        If yes,
                                                                Case #(s),.1. if known:
  TI CIP ATED LENGTH OF TRIAL:                               hours or    .:-3       days                                   o
                                                         PLEADING TYPE
                     Original                      Administrative Appeal          Appeal
     ting Case: D    Post-Judgment            O    Amendment
         in an existin case ski                                                   o to Relief section.

                   IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)


B
 ORTS
  Asbestos
  Assault and Battery
                                8O   Government
                                     Insurance
                                     Product Liability
                                                                    PUBLIC LAW
                                                                    O Attorney Grievance
                                                                                                   O Constructive Trust
                                                                                                   O   Contempt
O Business and Commercial                                           O Bond Forfeiture Remission    O Deposition Notice
0 Conspiracy                    PROPERTY                            O Civil Rights                 0 Dist Ct Mtn Appeal
O Conversion                    O Adverse Possession                O County/Mncpl Code/Ord        O Financial
O Defamation                    8
                                Breach of Lease                     O Election Law                 O Grand Jury/Petit Jury
O False Arrest/Imprisonment
O Fraud
                                B
                                Detinue
                                Distress/Distrain
                                Ejectment
                                                                    O Eminent Domain/Condemn.
                                                                    O Environment
                                                                                                   O Miscellaneous
                                                                                                   O Perpetuate Testimony/Evidence
O Lead Paint - DOB of         O Forcible Entry/Detainer             O Error Coram Nobis            O Prod. of Documents Req.
   Youngest Pit:_____ O Foreclosure                                 O Habeas Corpus                O Receivership
O Loss of Consortium            O Commercial                        O Mandamus                     O Sentence Transfer
                                                                    O Prisoner Rights              O Set Aside Deed
O Malicious Prosecution         O Residential                                                      0 Special Adm. - Atty
O Malpractice-Medical           O Currency or Vehicle               O Public Info. Act Records     O Subpoena Issue/Quash
O Malpractice-Professional      O Deed of Trust                     O Quarantine/Isolation         0 Trust Established
O Misrepresentation             D Land Installments                 O Writ of Certiorari           O Trustee Substitution/Removal
ŒJ Motor Tort                   O Lien                                                             O Witness Appearance-Compel
                                                                    EMPLOYMENT
O Negligence                    O Mortgage
O Nuisance                      O Right of Redemption               □ ADA
                                                                                                   PEACE ORDER
                                                                                                   O Peace Order
O Premises Liability            O Statement Condo                   O Conspiracy
O Product Liability           O Forfeiture of Property/             □EEO/HR
                                                                                                   EQUITY
O Specific Performance          Personal Item
                              O Fraudulent Conveyance
                                                                    □ FLSA
                                                                                                   O Declaratory Judgment
                                                                                                   O Equitable Relief
§  Toxic Tort
   Trespass
   Wrongful Death
                              O Landlord-Tenant
                              O Lis Pendens
                                                                    0FMLA
                                                                    O Workers' Compensation
                                                                    O Wrongful Termination
                                                                                                   O Injunctive Relief
                                                                                                   O Mandamus
CONTRACT                      O Mechanic's Lien                                                    OTHER
O Asbestos                    O Ownership                           INDEPENDENT
                                                                                                   O Accounting
O Breach                      O Partition/Sale in Lieu              PROCEEDINGS
                                                                                                   0 Friendly     Suit-
O Business and Commercial O Quiet Title
O Confessed Judgment (Cont'd) O Rent Escrow
                                                                    O Assumption of Jurisdiction
                                                                    O Authorized Sale
                                                                                                   □ Grantor in Possession
O Construction                O Return of Seized Property                                      O Maryland Insurance Administration
O Debt                        O Right of Redemption                 O Attorney Appointment     O Miscellaneous
O Fraud                       O Tenant Holding Over                 O Body Attachment Issuance O Specific Transaction
                                                                    O Commission Issuance      O Structured Settlements
CC-DCM-002 (Rev. 11/2016)                                 Page 1 of3
       Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 5 of 11




                     IF NEW OR EXISTING CASE: RELIEF {Check All that Apply)
O Abatement                   0 Earnings Withholding            O Judgment-Interest                 O Return of Property
O Administrative Action       O Enrollment                      O Judgment-Summary                  O Sale of Property
O Appointment of Receiver     O Expungement                     ~Liability                          O Specific Performance
O Arbitration                 O Findings of Fact                O Oral Examination                  O Writ-Error Coram Nobis
O Asset Determination         O Foreclosure                     □Order                              O Writ-Execution
                                                                                                    0 Writ-Garnish Property
O Attachment b/f Judgment O Injunction                          O Ownership of Property
O Cease & Desist Order    O Judgment-Affidavit                  O Partition of Property             O Writ-Garrúsh Wages
0 Condemn Bldg                O Judgment-Attorney Fees          O Peace Order                       O Writ-Habeas Corpus
O Contempt                    O Judgment-Confessed              O Possession                        O Writ-Mandamus
Œl Court Costs/Fees      O Judgment-Consent                     O Production of Records             O Writ-Possession
lîl Damages-Compensatory O Judgment-Declaratory                 O Quarantine/Isolation Order
O Damages-Punitive       O Judgment-Default                     O Reinstatement of Employment

Ifyou indicated Liability above, mark one of the following. This information is nQ1 an admission and may not be
used for any purpose other than Track Assignment.

O Liability is conceded.     O Liability is not conceded, but is not seriously in dispute.   IKJ Liability is seriously in dispute.
              MONETARY DAMAGES (Do not include Attorney's Fees, Interest, or Court Costs)


  O Under $10,000                 0 $10,000 - $30,000           0 $30,000 - $100,000              ¡gJ Over $100,000


  ~ Medical Bills$ 12,000 apeox               I&, Wage Loss$ 8,000 aeprox               O Property Damages $

                            ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)
 A. Mediation       !Xl Yes O No                             C. Settlement Conference 181Yes        No         □
 B. Arbitration     O Yes ~ No                               D. Neutral Evaluation     O Yes !xl No

                                                SPECIAL REQUIREMENTS

 O Ifa Spoken Language Interpreter is needed, check here and attach form CC-DC-041
 O If you require an accommodation for a disability under the Americans with Disabilities Act, check here and
    attach form CC-DC-049
                                     ESTIMATED LENGTH OF TRIAL
With the exception of Baltimore County and Baltimore City, please.fill in the estimated LENGTH OF TRIAL.
                                              (Case will be tracked accordingly)
                     O 1/2 day of trial or less                        O 3 days of trial time
                     O 1 day of trial time                             O More than 3 days of trial time
                     ŒI 2 days of trial time

                      BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
 For all jurisdictions,    if Business and Technology track designation under Md. Rule 16-308 is requested, attach a
                              duplicate copy of complaint and check one of the tracks below.

              o   Expedited- Trial within 7 months                      O Standard - Trial within 18 months of
                      of Defendant's response                                         Defendant's response

                                           EMERGENCY RELIEF REQUESTED



CC-DCM-002 (Rev. 11/2016)                                  Page 2 of3
      Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 6 of 11




                            COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                                  MANAGEMENT PROGRAM (AST AR)


     FOR PURPOSES OF POSSIBLE SPEÇIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
Md. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

              O Expedited - Trial within 7 months                              O Standard - Trial within 18 months of
                        of Defendant's response                                          Defendant's response

IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY, PLEASE FILL OUT
THE APPROPRIATE BOX BELOW.
                      CIRCUIT COURT FOR BAL TIMORE CITY (CHECK ONLY ONE)

o    Expedited                  Trial 60 to 120 days from notice. Non-jury matters.

o    Civil-Short                Trial 2 I O days from first answer.

o    Civil-Standard             Trial 360 days from first answer.

o    Custom                        Scheduling order entered by individual judge.

o    Asbestos                      Special scheduling order.

o    Lead Paint                    Fill in: Birth Date of youngest plaintiff

o    Tax Sale Foreclosures         Special scheduling order.

o    Mortgage Foreclosures No scheduling order.




                                         CIRCUIT COURT FOR BALTIMORE COUNTY

O    Expedited                Attachment Before Judgment, Declaratory Judgment (Simple), Administrative Appeals, District
 (Trial Date-90 days)         Court Appeals and Jury Trial Prayers, Guardianship, Injunction, Mandamus.

O    Standard                 Condemnation, Confessed Judgments (Vacated), Contract, Employment Related Cases, Fraud and
  (Trial Date-240 days)       Misrepresentation, International Tort, Motor Tort, Other Personal Injury, Workers' Compensation
                              Cases.

O   Extended Standard         Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or Personal Injury Cases
  (Trial Date-345 days)       (medical expenses and wage loss of$100,000, expert and out-of-state witnesses (parties), and trial
                              of five or more days), State Insolvency.

O     Complex                 Class Actions, Designated Toxic Tort, Major Construction Contracts, Major Product Liabilities,
    (Trial Date-450 days)     Other Complex Cases.




                        4/17/2019
                            Date                                                       -/     Signature of Counsel Party
                                                                                                                           C.PF4t lll2.l'¾02.-¡ti
                                                                                                                  ï



           9241 Cambridge Manor Court                                                ¿      Zachary S. Myers, Esq.
                          Address                                                                   Pnnted Name
                   Potomac MD 20854
                      City, State, Zip




CC-DCM-002 (Rev. 11/2016)                                       Page 3 of3
      Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 7 of 11



 IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND
                                     Civil Division


Melvin March
4374 Eagle Court
Waldorf, MD 20603
                                                      Civil Action No. -------
               Plaintiff

vs.

Washington Metropolitan Area
Transit Authority
600 5th Street, NW
Washington, DC 20001
      Serve: Patricia Lee, General Counsel                                                  ~.(")
                                                                                 •l
             600 5th Street, NW                                                             ôë>"
             Washington, DC 20001                                                           =-ª'
                                                                                            ,.....0
                                                                                            0-
                                                                                            (!\) ,-;,,




                                                                                            -
       and                                                                                  C: 'JS
                                                                                            """º
Raneshia Shernette Allen
2649 Martin Luther King Avenue SE, #201
Washington, DC 20020

               Defendants.

                                      COMPLAINT

1.     This Court has jurisdiction because the subject matter automobile collision

       occurred in Prince George's County, Maryland.

2.     Plaintiff Melvin March (hereinafter "March") is an adult individual who resides in

        Waldorf, Maryland.

3.      Defendant Washington Metropolitan Area Transit Authority (hereinafter

        "WMAT A") is an organization which regularly conducts business in The State of

        Maryland and in Prince George's County.

4.      Defendant Raneshia Shemette Allen (hereinafter "Allen") is an adult individual

        who resides in the District of Columbia.
       Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 8 of 11



5.       On or about July 1, 2017 at approximately 5:00 p.m., Plaintiff was operating a

        motor vehicle which was stopped on Indian Head Hwy at or near the intersection

        with Old Ford Road due to a red traffic light signal.

6.      At the aforementioned time and place, Defendant Allen was operating a vehicle

         owned by Defendant WMATA as their agent, servant and/or employee, with

         permission to use the vehicle, and was behind the Plaintiff's vehicle when

         Defendant Allen caused a collision by striking Plaintiff's vehicle when she

         prematurely moved the vehicle when the traffic light ahead turn ed green.

7.       At that time and place, Defendant Allen had express and or implied permission to

         use the vehicle within the scope of her employm ent or as an àgent, servant, joint

         venturer, or employee of Defendant WMAT A.

8.       Defendant Allen breached the duties of care owed to Plaintiff March.

9.       As a direct and proximate result of the Defendant's negligence and breach of

         duties, Plaintiffs suffered bodily injuries, sustained pain and discomfort, incurred

         medical expenses, property damage and lost income.

                           COUNTI: NEGLIGENCE
               (PLAINTIFF MARCH AGAINST DEFENDANT ALLEN)

1 O.     Paragraphs 1-9 are hereby incorporated by reference and realleged as if fully

         restated herein.

11.      Defendant Allen owed Plaintiff March numerous duties including, but not limited

         to the following: to maintain control of her vehicle, to yield right of way, to avoid

         a collision, to obey traffic signs and controls, to obey the rules of the road, to keep

         a proper lookout, to pay full-time and attention to her driving, to leave a proper
      Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 9 of 11




         distance, to drive at a reasonable speed under the circum stances, to obey traffic

         control devices, and to not cause a collision.

12.      Defendant Allen breached the duties owed to Plaintiffan d caused the collision.

13.      As a direct and proximate result of Defendant Allen's breach of duties, Plaintiff

         suffered bodily injuries, sustained pain and discomfort, incurred medical

         expenses, and lost income.

         WHEREFORE , Plaintiff March demands judgm ent against Defendant Allen in

      and amount in excess of Seventy-Five Thousand Dollars ($75,000.00) plus interest

      and costs.

           COUNT II: RESPONDEAT SUPERIOR/ VICARIOUS LIABILLITY
             {PLAINTIFF MARCH AGAINST DEFENDANT WMATA)

14.      Paragraphs 1-13 are hereby incorporated by reference and realleged as if fully

         restated herein.

15.      Defendant Allen was operating a vehicle owned by Defendant WMATA and with

         their permission and/or at their direction and/or as their agent, servant or

          employee.

16.      At all times relevant herein, Defendant WMAT A through its employee, agent and

          servant, Defendant Allen, was negligent in the operation of the Defendant's

          vehicle as set forth above.

17.       As a direct and proximate result of the negligence of Defendant Allen, Defendant

          WMATA' s employee, agent and servant, the collision occurred and Plaintiff

          sustained bodily injuries, sustained pain and discomfort, incurred medical

          expenses, and lost income.
      Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 10 of 11



18.      Defendant WMATA is vicariously liable for the actions or omissions of

         Defendant Allen and/or liable under a doctrine of respondeat superior.

         WHEREFORE, Plaintiff March demands judgment against Defendant WMATA

in and amount in excess of Seventy-Five Thousand Dollars ($75,00o:oo) plus interest and

costs.




                                       Z    ary S. Myers, Esq. CPF # 1112140289
                                       Judy L. Feinberg, Esq. CPF # 8506010092
                                       Feinberg Myers, P.C.
                                       9241 Cambridge Manor Court
                                       Potomac, MD 20854
                                       301-765-0076
                                      Attorney for Plaintiff
Case 8:19-cv-01969-PWG Document 1-1 Filed 07/03/19 Page 11 of 11

       SENDER: COMPLETE THIS SECTION                               COMPLETE THIS SECTION C.M DELIVERY

       ■   Complete items 1, 2, and 3.
       ■   Print your name and address on the reverse                                                           ~Agent
           so that we can return the card to you.                                                               O Addressee
       ■   Attach this card to the back of the mailpiece,
           or on the front if space permits.
       1. Article Addressed to:                                    D. Is delivery address different fro em 1?
                                                                      If YES, enter delivery address below:
           Washington Metropolitan Area
           Transit Authority
           SV: Patricia Lee
           600 5th Street, N.W.
           Washington, DC. 20001
                                                     3. Service Type                           O Priority Mail Express®
                                                     D Adult Signature                         □ Registered Mail™
           1111111111111111111111111111111111111111111111
                                                     O Adult Signature Restricted Oelfvery
                                                     )(certified Mail®
                                                                                               □ Registered Mail Restricted
                                                                                                 Delivery
             9590940219296123981036                  □ Certified Mail Restricted Delivery      □ Return Receipt for
     __________________, O Collect on Delivery                                                   Merchandise
      2. Article Number (Transfer from service labeO □ Collect on Delivery Restricted Delivery □ Signature Confirmation™
                                                     □ Insured Mail                            □ Signature Confirmation
       7016 0340 DODO 9920 7095                      □ Insured Mail Restricted Delivery          Restricted Delivery
                                                       (over$500)
    : PS Form    3811, July 2015 PSN 7530-02-000-9053                                              Domestic Return Receipt




                          USPS TRACKING#




             lilllllllllllliiIIIIIIIIII llllllliiliiIIliilii
            9590 9402 1929 6123 9810 36
                                                                       IIIIII                     First-Class Mail
                                                                                                  Postaçs & Fees Paid
                                                                                                  USPS
                                                                                                  Permit No. G-10


           United States
           Postal Service              • Sender: Please print your name, address, and ZIP+4® in this box•


                                                Feinberg Myers, PC


    l                                           9241 Cambridge Manor CT
                                                Potomac, MD 20854
